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 9        IN THE UNITED STATES DISTRICT COURT
10      FOR THE CENTRAL DISTRICT OF CALIFORNIA
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                                              Case No. Misc. 24-61 SPG (MRWx)
13   ACOSTA, et al.,
                       Plaintiffs,            ORDER TRANSFERRING
14                                            ACTION TO NORTHERN
15                v.                          DISTRICT OF ILLINOIS

16   UNITE HERE HEALTH, et al.,               N.D. Ill. No. CV 1:22-1458 HDL
17                     Defendants.
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           Pursuant to Federal Rule of Civil Procedure 45(f) and based on the
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     consent of the parties, the Court transfers this motion to compel to the
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     Northern District of Illinois, the site of the underlying civil action.
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           1.    The Illinois action is a putative class action filed by current
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     and former participants in the Unite Here Health Fund. In connection
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     with that civil case, the Defendant Unite Here Health served a Rule 45
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     subpoena on a third party, Local 11, a local union that is located in the
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 1   Central District of California. The subpoena required Local 11 to produce
 2   documents concerning a variety of subjects.
 3         2.     In May 2024, Unite Here Health commenced this action in the
 4   Central District of California to compel discovery responses to the
 5   subpoena. (Docket # 1.) Magistrate Judge Wilner contacted Senior District
 6   Judge Leinenweber (presiding over the underlying Illinois action) to inform
 7   him of the pending action in Los Angeles. Judge Wilner also set the matter
 8   for a preliminary status conference with the parties. (Docket # 16.)
 9         3.     Judge Wilner conducted a hearing regarding the matter on
10   May 23. In advance of the May 23 hearing, Local 11 (the subpoenaed local
11   party) and Unite Here Health (the subpoena-issuing party) informed the
12   Court that they consented to transfer this action to the Northern District of
13   Illinois for Judge Leinenweber’s consideration. Fed. R. Civ. P. 45(f).
14                                       ***
15         4.     Rule 45 states that a motion to quash or to compel compliance
16   with a subpoena to a non-party may be considered in “the district where
17   compliance is required.” Fed. R. Civ. P. 45(d)(2)(B)(ii). However, Rule 45(f)
18   permits the transfer of such a motion “if the person subject to the subpoena
19   consents.”
20         5.     In the present matter, both United Here Health and Local 11
21   consented in open court to transfer the motion to compel to Judge
22   Leinenweber in Chicago. Given Judge Leinenweber’s familiarity with the
23   action and other ongoing discovery issues similar to those at issue in the
24   instant motion, transfer of the Los Angeles action to Chicago is
25   appropriate.
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